                                       UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                      LOS ANGELES DIVISION


In Re. JINZHENG GROUP (USA), LLC                                    §                  Case No. 21-16674
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 08/31/2022                                                       Petition Date: 08/24/2021

Months Pending: 12                                                                       Industry Classification:    6    5   5   2

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/Zhaopu Yang                                                               Zhaopu Yang, Attorney in Fact for Jianqing Yang
Signature of Responsible Party                                               Printed Name of Responsible Party
09/21/2022
Date
                                                                             6840 De Celis Pl. #9, Van Nuys, CA 91406
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
          Case 2:21-bk-16674-ER                   Doc 386-1 Filed 09/22/22 Entered 09/22/22 16:21:27                              Desc
                                                       Appendix Page 2 of 11
Debtor's Name JINZHENG GROUP (USA), LLC                                                                       Case No. 21-16674

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/Zhaopu Yang                                                                  Zhaopu Yang
Signature of Responsible Party                                                  Printed Name of Responsible Party

Attorney in Fact for Jianqing Yang,Managing Member                              09/21/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
          Case 2:21-bk-16674-ER               Doc 386-1 Filed 09/22/22 Entered 09/22/22 16:21:27                     Desc
                                                   Appendix Page 3 of 11




                                                                      Dat e 8/ 31/ 22               Page       1
                                                                      Pr i mar y Ac c ount                  3243


          J I NZHENG GROUP ( USA) LLC
          Debt or i n Pos s es s i on
          Cas e 2: 21- bk - 16674- ER, Pay r ol l
          6840 De Cel i s Pl . #9
          Van Nuy s CA 91406




 Ac c ount Ti t l e:                 J I NZHENG GROUP ( USA) LLC
                                     Debt or i n Pos s es s i on
                                     Cas e 2: 21- bk - 16674- ER, Pay r ol l
 Commer c i al Chec k i ng                                  Number of Enc l os ur es                             0
 Ac c ount Number                                 3243      St at ement Dat es       8/ 01/ 22 t hr u 8/ 31/    22
 Pr ev i ous Bal anc e                      44, 236. 39     Day s i n t he s t at ement per i od                31
          Depos i t s / Cr edi t s                 . 00     Av g Dai l y Ledger                      44, 236.   39
          Chec k s / Debi t s                      . 00     Av g Dai l y Col l ec t ed               44, 236.   39
 Mai nt enanc e Fee                                . 00
 I nt er es t Pai d                                . 00
 Endi ng Bal anc e                          44, 236. 39


DAILY BALANCE INFORMATION
 Dat e                        Bal anc e
  8/ 01                   44, 236. 39
                                                      *** END OF STATEMENT ***
     Case 2:21-bk-16674-ER
IMPORTANT                  Doc 386-1
           DISCLOSURE TO OUR         Filed 09/22/22
                               CONSUMER    CUSTOMERSEntered 09/22/22 16:21:27                                                   Desc
                                Appendix Page 4 of 11
In Case of Errors or Questions About Your Electronic Transfers
In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 1-888-502-2967 or Write us at the address on the front
of this statement as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer
on the statement or receipt. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or
problem appeared.

       •   Tell us your name and account number (if any).
       •   Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or
           why you need more information.
       •   Tell us the dollar amount of the suspected error.

We will tell you all the results of our investigation within 10 business days and will correct any error promptly. If we need more time, we may
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For our 24-hour Automated Banking System, please call the number located on the front of the Statement.
CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE

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Systems, Attention Consumer Relations, 7805 Hudson Road, Suite 100, Woodbury, MN 55125. In order to assist you with your dispute,
you must provide your name, address and phone number; the account number; the specific information you are disputing; the explanation
of why it is incorrect; and any supporting documentation (i.e. affidavit of identity theft). If applicable.




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DEP 950 (10/18)
          Case 2:21-bk-16674-ER               Doc 386-1 Filed 09/22/22 Entered 09/22/22 16:21:27                    Desc
                                                   Appendix Page 5 of 11




                                                                    Dat e 8/ 31/ 22                Page       1
                                                                    Pr i mar y Ac c ount                   3250


          J I NZHENG GROUP ( USA) LLC
          Debt or i n Pos s es s i on
          Cas e 2: 21- bk - 16674- ER, Tax
          6840 De Cel i s Pl . #9
          Van Nuy s CA 91406




 Ac c ount Ti t l e:                 J I NZHENG GROUP ( USA) LLC
                                     Debt or i n Pos s es s i on
                                     Cas e 2: 21- bk - 16674- ER, Tax
 Commer c i al Chec k i ng                                 Number of Enc l os ur es                             0
 Ac c ount Number                                 3250     St at ement Dat es       8/ 01/ 22 t hr u 8/ 31/    22
 Pr ev i ous Bal anc e                      10, 000. 00    Day s i n t he s t at ement per i od                31
          Depos i t s / Cr edi t s                 . 00    Av g Dai l y Ledger                      10, 000.   00
          Chec k s / Debi t s                      . 00    Av g Dai l y Col l ec t ed               10, 000.   00
 Mai nt enanc e Fee                                . 00
 I nt er es t Pai d                                . 00
 Endi ng Bal anc e                          10, 000. 00


DAILY BALANCE INFORMATION
 Dat e                        Bal anc e
  8/ 01                   10, 000. 00
                                                     *** END OF STATEMENT ***
     Case 2:21-bk-16674-ER
IMPORTANT                  Doc 386-1
           DISCLOSURE TO OUR         Filed 09/22/22
                               CONSUMER    CUSTOMERSEntered 09/22/22 16:21:27                                                   Desc
                                Appendix Page 6 of 11
In Case of Errors or Questions About Your Electronic Transfers
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DEP 950 (10/18)
          Case 2:21-bk-16674-ER               Doc 386-1 Filed 09/22/22 Entered 09/22/22 16:21:27                      Desc
                                                   Appendix Page 7 of 11




                                                                     Dat e 8/ 31/ 22                    Page      1
                                                                     Pr i mar y Ac c ount                      4694


          J I NZHENG GROUP ( USA) LLC
          Debt or i n Pos s es s i on,
          Cas e 2: 21- bk - 16674- ER, J V Ac c ount
          6840 De Cel i s Pl . #9
          Van Nuy s CA 91406




 Ac c ount Ti t l e:                 J I NZHENG GROUP ( USA) LLC
                                     Debt or i n Pos s es s i on,
                                     Cas e 2: 21- bk - 16674- ER, J V Ac c ount
 Commer c i al Chec k i ng                                  Number of Enc l os ur es                              0
 Ac c ount Number                                  4694     St at ement Dat es       8/ 01/ 22 t hr u     8/ 31/ 22
 Pr ev i ous Bal anc e                              . 00    Day s i n t he s t at ement per i od                 31
          Depos i t s / Cr edi t s                  . 00    Av g Dai l y Ledger                                . 00
          Chec k s / Debi t s                       . 00    Av g Dai l y Col l ec t ed                         . 00
 Mai nt enanc e Fee                                 . 00
 I nt er es t Pai d                                 . 00
 Endi ng Bal anc e                                  . 00


DAILY BALANCE INFORMATION
 Dat e                         Bal anc e
  8/ 01                            . 00
                                                      *** END OF STATEMENT ***
     Case 2:21-bk-16674-ER
IMPORTANT                  Doc 386-1
           DISCLOSURE TO OUR         Filed 09/22/22
                               CONSUMER    CUSTOMERSEntered 09/22/22 16:21:27                                                   Desc
                                Appendix Page 8 of 11
In Case of Errors or Questions About Your Electronic Transfers
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DEP 950 (10/18)
            Case 2:21-bk-16674-ER               Doc 386-1 Filed 09/22/22 Entered 09/22/22 16:21:27                     Desc
                                                     Appendix Page 9 of 11




                                                                       Dat e 8/ 31/ 22                Page       1
                                                                       Pr i mar y Ac c ount                   3235


            J I NZHENG GROUP ( USA) LLC
            Debt or i n Pos s es s i on
            Cas e 2: 21- bk - 16674- ER, Gener al
            6840 De Cel i s Pl . #9
            Van Nuy s CA 91406




 Ac c ount Ti t l e:                   J I NZHENG GROUP ( USA) LLC
                                       Debt or i n Pos s es s i on
                                       Cas e 2: 21- bk - 16674- ER, Gener al
 Commer c i al Chec k i ng                                    Number of Enc l os ur es                             0
 Ac c ount Number                                     3235    St at ement Dat es       8/ 01/ 22 t hr u 8/ 31/    22
 Pr ev i ous Bal anc e                       156,   791. 89   Day s i n t he s t at ement per i od                31
      10 Depos i t s / Cr edi t s              7,   064. 00   Av g Dai l y Ledger                     152, 206.   50
       2 Chec k s / Debi t s                   5,   075. 00   Av g Dai l y Col l ec t ed              151, 978.   63
 Mai nt enanc e Fee                                    . 00
 I nt er es t Pai d                                    . 00
 Endi ng Bal anc e                           158,   780. 89


DEPOSITS AND OTHER CREDITS
 Dat   e         Des c r i pt   i on                                           Amount
  8/   30        My Depos i     t                                              500. 00
  8/   30        My Depos i     t                                              500. 00
  8/   30        My Depos i     t                                              637. 00
  8/   30        My Depos i     t                                              637. 00
  8/   30        My Depos i     t                                              645. 00
  8/   30        My Depos i     t                                              645. 00
  8/   30        My Depos i     t                                              800. 00
  8/   30        My Depos i     t                                              800. 00
  8/   30        My Depos i     t                                              950. 00
  8/   30        My Depos i     t                                              950. 00
          Case 2:21-bk-16674-ER           Doc 386-1 Filed 09/22/22 Entered 09/22/22 16:21:27             Desc
                                               Appendix Page 10 of 11




                                                                 Dat e 8/ 31/ 22         Page      2
                                                                 Pr i mar y Ac c ount           3235




 Commer c i al Chec k i ng                                3235     ( Cont i nued)
CHECKS AND WITHDRAWALS
 Dat e        Des c r i pt i on                                          Amount
  8/ 01       SALE              CONVOY REAL ESTA                      5, 000. 00-
              CCD                   6977
              J I NZHENG GROUP USA LLC
  8/ 15       Ac c ount Anal y s i s Char ge                              75. 00-

DAILY BALANCE INFORMATION
 Dat e                     Bal anc e Dat e                   Bal anc e Dat e                 Bal anc e
  8/ 01               151, 791. 89    8/ 15             151, 716. 89    8/ 30           158, 780. 89
                                                   *** END OF STATEMENT ***
     Case 2:21-bk-16674-ER
IMPORTANT                  Doc 386-1
           DISCLOSURE TO OUR          Filed 09/22/22
                               CONSUMER     CUSTOMERSEntered 09/22/22 16:21:27                                                  Desc
                                Appendix Page 11 of 11
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DEP 950 (10/18)
